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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )
                                                )
                       Plaintiff,               )                   8:05CR69
                                                )
              v.                                )
                                                )
KADHIM ABDULLAH,                                )                    ORDER
                                                )
                       Defendant.               )
                                                )


       The government has filed a motion pursuant to Federal Rule of Criminal Procedure
35(b). Filing No. 60
       IT IS ORDERED that:
       1. Counsel for the government shall notify the court when the motion pursuant to
Rule 35(b) is ripe for decision. The motion shall not be decided until counsel for the
government certifies that the motion is ripe.
       2.   Counsel for the defendant, if previously appointed pursuant to the Criminal
Justice Act, is reappointed to represent the defendant for purposes of the Rule 35(b)
motion. If retained, counsel for the defendant remains as counsel for the defendant until
the Rule 35(b) motion is resolved or until given leave to withdraw.
       3.   The Federal Public Defender shall provide CJA counsel with a new voucher.
       DATED this 14TH day of November, 2007.


                                               BY THE COURT:



                                               s/ Joseph F. Bataillon
                                               Chief United States District Judge
